           Case 2:19-cv-00233-RHW                    ECF No. 17          filed 06/08/21     PageID.667 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                     Eastern District of Washington                              FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                                                                       EASTERN DISTRICT OF WASHINGTON
                            JEFF D.,

                                                                     )                                   Jun 08, 2021
                             Plaintiff                               )                                        SEAN F. MCAVOY, CLERK

                                v.                                   )       Civil Action No. 2:19-CV-00233-RHW
              ANDREW M. SAUL,                                        )
       COMMISSIONER OF SOCIAL SECURITY,                              )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .
         Plaintiff’s Motion for Summary Judgment, ECF No. 11, is GRANTED.
✔ other:
u
              Defendant’s Motion for Summary Judgment, ECF No. 12, is DENIED.
              Plaintiff’s Motion for Alternative Remedy, ECF No. 13, is DENIED.
              This matter is REMANDED under Sentence Four of the 42 U.S.C. §405(g) to the Commissioner for further proceedings
              consistent with this Order.
              Judgment entered in favor of Plaintiff.
This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                                                                             on a motion for
      summary judgment.


Date: 6/8/2021                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Tonia Ramirez
                                                                                           %\ Deputy Clerk

                                                                             Tonia Ramirez
